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IN THE UNITED STATES DISTRICT COURT nw m'----- ---°£
FoR THE wESTERN DISTRICT oF TENNESSEE `
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T|`MM.GUULD
UNITED STATES oF AMERICA, -CLEK U‘S.USTR!CT(D.HT
.WDOFTN.MEW|'§S
vS. No. 04~20498-Ma

RONALD JONES ,

Defendant.

 

ORDER GRANTING MO'I‘ION TO CONTINUE SUPPRESSION HEARING

 

Before the court is the government's August 24, 2005, motion
to reset the hearing on the defendant's motion to suppress which
was set on September l, 2005. Counsel for the defendant does not
oppose the resetting. For good cause shown, the motion is

granted. The hearing on the motion to suppress is reset to

Friday, October 14, 2005, at 2200 p.m.

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It is so ORDERED this day of August, 2005.

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SAMUEL H. MAYS, JR.
UNI'I'ED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 63 in
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August 3], 2005 to the parties listed.

 

 

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Honcrable Samuel Mays
US DISTRICT COURT

